 Case 20-11960-JNP            Doc 15 Filed 05/28/20 Entered 05/29/20 00:31:49                        Desc Imaged
                                   Certificate of Notice Page 1 of 2
Form 148 − ntcdsmcs

                                   UNITED STATES BANKRUPTCY COURT


District of New Jersey
401 Market Street
Camden, NJ 08102

                                         Case No.: 20−11960−JNP
                                         Chapter: 13
                                         Judge: Jerrold N. Poslusny Jr.

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Cherese Chester
   160 Family Lane
   Deptford, NJ 08096
Social Security No.:
   xxx−xx−4925
Employer's Tax I.D. No.:


                                    NOTICE OF ORDER DISMISSING CASE


      NOTICE IS HEREBY GIVEN that an Order Dismissing the above captioned Case was entered on 5/26/20.

      Any discharge which was granted in this case is vacated. All outstanding fees to the Court incurred by the
dismissed debtor(s) are due and owing and must be paid within five (5) days from the date of this Order.

      This dismissal may mean that the debtor is ineligible to file another bankruptcy petition for 180 days under 11
U.S.C. § 109(g).




Dated: May 26, 2020
JAN: kvr

                                                                   Jeanne Naughton
                                                                   Clerk
        Case 20-11960-JNP              Doc 15 Filed 05/28/20 Entered 05/29/20 00:31:49                               Desc Imaged
                                            Certificate of Notice Page 2 of 2
                                               United States Bankruptcy Court
                                                  District of New Jersey
In re:                                                                                                     Case No. 20-11960-JNP
Cherese Chester                                                                                            Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0312-1                  User: admin                        Page 1 of 1                          Date Rcvd: May 26, 2020
                                      Form ID: 148                       Total Noticed: 10


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
May 28, 2020.
db             +Cherese Chester,   160 Family Lane,   Deptford, NJ 08096-2831
518761440       Emergency Care Services of New Jersey PA,   PO Box 1123,    Minneapolis MN 55440-1123
518698317      +KML Law Group,   216 Haddon Avenue Suite 406,    Collingswood, NJ 08108-2812
518698318      +RoundPoint Mortgage Servicing Corp,   PO Box 674150,    Dallas, TX 75267-4150
518778884      +RoundPoint Mortgage Servicing Corporation,    446 Wrenplace Road,   Fort Mill, SC 29715-0200
518712599       RoundPoint Mortgage Servicing Corporation,    KML Law Group PC,   Sentry Office Plaza,
                 216 Haddon Avenue, Suite 206,   Westmont, NJ 08108

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
smg             E-mail/Text: usanj.njbankr@usdoj.gov May 27 2020 00:31:17      U.S. Attorney,    970 Broad St.,
                 Room 502,   Rodino Federal Bldg.,    Newark, NJ 07102-2534
smg            +E-mail/Text: ustpregion03.ne.ecf@usdoj.gov May 27 2020 00:31:13      United States Trustee,
                 Office of the United States Trustee,    1085 Raymond Blvd.,   One Newark Center,    Suite 2100,
                 Newark, NJ 07102-5235
518746687      +EDI: AIS.COM May 27 2020 03:53:00      Capital One Bank (USA), N.A.,   4515 N Santa Fe Ave,
                 Oklahoma City, OK 73118-7901
518793601      +EDI: AIS.COM May 27 2020 03:53:00      Verizon,   by American InfoSource as agent,
                 4515 N Santa Fe Ave,   Oklahoma City, OK 73118-7901
                                                                                              TOTAL: 4

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: May 28, 2020                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on May 26, 2020 at the address(es) listed below:
              Andrew Thomas Archer   on behalf of Debtor Cherese Chester aarcher@spillerarcherlaw.com,
               bankruptcy@brennerlawoffice.com;r64966@notify.bestcase.com
              Denise E. Carlon   on behalf of Creditor   RoundPoint Mortgage Servicing Corporation
               dcarlon@kmllawgroup.com, bkgroup@kmllawgroup.com
              Isabel C. Balboa   ecfmail@standingtrustee.com, summarymail@standingtrustee.com
              U.S. Trustee   USTPRegion03.NE.ECF@usdoj.gov
                                                                                            TOTAL: 4
